Filed 05/27/16                                                  Case 15-14228                                                                Doc 110
                                                  United States Bankruptcy Court
                                                 Eastern District of California
    In re:                                                                                                     Case No. 15-14228-B
    Oscar Gutierrez                                                                                            Chapter 13
             Debtor
                                                     CERTIFICATE OF NOTICE
    District/off: 0972-1                  User: jdas                         Page 1 of 1                          Date Rcvd: May 27, 2016
                                          Form ID: pdf030                    Total Noticed: 4

    Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
    May 29, 2016.
    db             +Oscar Gutierrez,   211 Center Street,   Orange Cove, CA 93646-2054
    aty            +Cynthia A. Arroyo,   740 G St #F,   Reedley, CA 93654-2629
    aty            +Glen E. Gates,   2377 W. Shaw Avenue, Suite 101,   Fresno, CA 93711-3438

    Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
    tr              E-mail/Text: bncnotices@meyer13.com May 28 2016 01:42:52     Michael H. Meyer,   PO Box 28950,
                     Fresno, CA 93729-8950
                                                                                                TOTAL: 1

                 ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
    *                +Oscar Gutierrez,   211 Center Street,   Orange Cove, CA 93646-2054
                                                                                                                        TOTALS: 0, * 1, ## 0

    Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
    USPS regulations require that automation-compatible mail display the correct ZIP.

    Transmission times for electronic delivery are Eastern Time zone.


    I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
    shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
    Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
    Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
    by the bankruptcy rules and the Judiciary’s privacy policies.
    Date: May 29, 2016                                             Signature: /s/Joseph Speetjens

    _

                                          CM/ECF NOTICE OF ELECTRONIC FILING

    The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
    system on May 27, 2016 at the address(es) listed below:
    NONE.                                                                                       TOTAL: 0
Filed 05/27/16         Case Number: 2015-14228      Filed: 5/26/2016 3:30:05 PM
                                          Case 15-14228                                                              Doc 110


                                    UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF CALIFORNIA
                                           CIVIL MINUTE ORDER


        Case Title :        Oscar Gutierrez                                   Case No : 15−14228 − B − 13
                                                                                 Date : 05/25/2016
                                                                                 Time : 01:30

        Matter :            [21] − Motion for Relief from Automatic Stay Filed by Creditor Carlos Garcia (Fee Paid
                            $176) (eFilingID: 5697015) (msam)


        Judge :             Rene Lastreto II                       Courtroom Deputy : Jennifer Dauer
        Department :        B                                              Reporter : Electronic Record


        APPEARANCES for :
        Movant(s) :
        None
        Respondent(s) :
                    Debtor(s) Attorney − Glen E. Gates


                                                  CIVIL MINUTE ORDER

        For the reasons stated on the record,

        IT IS ORDERED that the motion is continued to June 22, 2016 at 9:30 a.m. in Department B, Courtroom
        13, Fifth Floor, U.S. Courthouse, 2500 Tulare Street, Fresno, California. The court adopts the previous 11
        U.S.C. Section 362(e) findings set forth in the January 28, 2016 minutes.




                   May 26, 2016
Filed 05/27/16         Case Number: 2015-14228      Filed: 5/26/2016 3:30:05 PM
                                          Case 15-14228                                                         Doc 110


        This document does not constitute a certificate of service. The parties listed below will be served a
        separate copy of the attached Civil Minute Order.


        Oscar Gutierrez
        211 Center Street
        Orange Cove CA 93646

        Michael H. Meyer
        PO Box 28950
        Fresno CA 93729−8950

        Glen E. Gates
        2377 W. Shaw Avenue, Suite 101
        Fresno CA 93711

        Carlos Garcia
        190 11th St
        Orange Cove CA 93646
